Case 2:04-cr-20411-SH|\/| Document 47 Filed 08/30/05 Page 1 of 2 Page|D 51

 

IN THE UNITED sTATES DISTRICT cOURT m B"-. .` D_C
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 AU '
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UNITED STATES OF AMERICA, W/DA§;'.YSU?;C;COW
1.1_" ?*-' {. j:L.!/![Df.£
vs. NO. 04_20411-Ma 3
LARRY HILL,
Defendant.

 

ORDER GR.ANTING APPLICATION FOR
WRIT OF I'L§B.E'AS CORPUS A.D TESTIFICANDUM

 

The Clerk of the Court is hereby ORDERED to issue a Writ of Habeas Corpus ad
Tesrij?candum to the Warden/Superintendent of Shelby County Jail, 201 Poplar Ave., Memphis,
Tennessee, compelling him to produce Cario Dotson, Booking No. 04123225, RNI No. 202664,
to appear in Courtroom No. 2, Clifford Davis Federal Building, Memphis, Tennessee, before
Judge Samuel H. Mays, Jr. on Friday, September 2, 2005, at 2:00 p.m. , and such other times

as the Court may direct.

rr ls so oRDERED this°°”day of Augusr, 2002.

SAMUEL H. MAYS, JR.

 

UNITED STATES DISTRICT .TUDGE

This docl..ment entered on the docket sh tln comp\iance
with R\lie 55 and!or 32rb) FRCrP on __§__LL.Q.§_' ~

UNITD s"sATE DISTRIC COURT - ESTE DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-204]1 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

